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                           UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                   TAMPA DIVISION

  CHRISTOPHER MARK PARIS,                             Case No. 8:19-cv-00423-WFJ-SPF
  OXEBRIDGE QUALITY RESOURCES INT’L, LLC,
                          Plaintiffs,                 Hon. William F. Jung
  v.
                                                      Magistrate Judge Sean P. Flynn
  GUBERMAN PMC, LLC,
  DARYL GUBERMAN,
  DONALD LABELLE,
                                Defendants.

                         PLAINTIFFS’ MOTION FOR ORDER DIRECTING
                     DEFENDANTS TO COMPLETE FACT INFORMATION SHEET

        Pursuant to Fed. R. Civ. P. 60(a), Plaintiffs move for an order amending the judgment to

 include the injunctive relief ordered by the Court, and in support thereof states:

        1.      On May 18, 2020, the Court issued an opinion and order, which ordered the

 following injunctive relief:




 (Dkt. 111, Pg ID # 1121.)
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        2.      That same day, the clerk entered a separate and final judgment, which did not

 include the injunctive relief:




 (Dkt. 112.)

        3.      Pursuant to Fed. R. Civ. P. 60(a), Plaintiffs request that the Court amend the

 judgment to include the injunctive relief.

                                       Memorandum of Law

        Federal Rule of Civil Procedure 60(a) permits a court to amend a judgment to correct a

 clerical mistake or oversight. See Fed. R. Civ. P. 60(a). “[A] correction authorized by Rule

 60(a) may be made at any time—even years after the original judgment . . . .” Shuffle Tech Int'l,

 LLC v. Wolff Gaming, Inc., 757 F.3d 708, 711 (7th Cir. 2014).

        Here, the omission of injunctive relief in the final judgment was a clerical oversight

 correctable by Rule 60(a). See, e.g., Neurogenx, Inc. v. Med-I-Fit Enterprises, LLC, No. 1:16-

 CV-1187, 2017 WL 7370987, at *1 (W.D. Mich. Nov. 8, 2017) (“The omission of the injunctive

 relief in the judgment was a clerical oversight and correction of the oversight would be

 appropriate under Rule 60(a).”); Shred-it USA, Inc. v. Mobile Data Shred, Inc., 248 F. Supp. 2d

 302, 303 (S.D.N.Y. 2003) (amending judgment under Rule 60(a) to reflect injunction that was

 previously ordered).

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        WHEREFORE, Plaintiffs respectfully request that this Court amend the judgment to

 include the injunctive relief ordered by the Court.

                                GOOD FAITH CERTIFICATE

             Pursuant to Florida Middle District local rule 3.01(g), the undersigned counsel

 conferred with counsel for Guberman PMC, Bruce Minnick, on June 10, 2020, and with Mr.

 Guberman and Mr. Labelle on June 24, 2020, but was unable to resolve matters.

                                  CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and complete copy of this document was electronically
 filed with the clerk of courts in Broward County, Florida on the 7th day of July, 2020.


                                                       Respectfully submitted,

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                                                       /s/Glen H. Shrayer

                                                       Glen H. Shrayer, Esq.
                                                       Fl Bar No. 57253




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